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 1
                                                            HONORABLE JOHN C. COUGHENOUR
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 7
                                UNITED STATES DISTRICT COURT
 8                        FOR THE WESTERN DISTRICT OF WASHINGTON
 9
     BRADLEY GILMAN and NICOLE NEWMAN,
10   individually and on behalf of all others similarly
     situated,                                              NO. 2:11-cv-00806 JCC
11
                                   Plaintiffs,              AMENDED CLASS ACTION
12                                                          COMPLAINT FOR DAMAGES
            v.                                              AND INJUNCTIVE RELIEF
13                                                          PURSUANT TO 47 U.S.C. § 227
     ER SOLUTIONS, INC., a Washington                       et seq. (TELEPHONE CONSUMER
14
     corporation,                                           PROTECTION ACT)
15
                                                            Demand for Jury Trial
16                                 Defendant.

17

18          Plaintiffs Bradley Gilman and Nicole Newman (hereinafter referred to as “Plaintiffs”),

19   individually and on behalf of all others similarly situated, allege on personal knowledge,

20   investigation of counsel, and on information and belief as follows:

21                                      I. NATURE OF ACTION

22          1.      Plaintiffs bring this action for damages, and other legal and equitable remedies,

23   resulting from the illegal actions of ER Solutions, Inc. and its present, former, or future direct

24   and indirect parent companies, subsidiaries, affiliates, agents, and/or related entities (hereinafter

25   referred to as “ERS” or “the Company” or “Defendant”) in negligently, knowingly, and/or

26   willfully contacting Plaintiffs on Plaintiffs’ cellular telephones without their prior express

27
     AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
     AND INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. § 227 et               TERRELL MARSHALL DAUDT & WILLIE PLLC
                                                                                936 North 34th Street, Suite 400
     seq. (TELEPHONE CONSUMER PROTECTION ACT) - 1                              Seattle, Washington 98103-8869
     CASE NO. 2:11-CV-00806 JCC                                              TEL. 206.816.6603 • FAX 206.350.3528
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 1   consent within the meaning of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
 2   (hereinafter referred to as the “TCPA”).
 3           2.      ERS is a Washington corporation that maintains its headquarters in Renton,
 4   Washington. ERS, through its present, former, or future direct and indirect parent companies,
 5   subsidiaries, affiliates, agents, and/or related entities, provides debt collection services
 6   throughout the United States. ERS employs 730 individuals. On its website, ERS advertises
 7   that its employees “understand both the psychology of delinquent customers and their
 8   resistance to paying their obligations and have become skilled at using proven strategies and
 9   collection techniques to encourage voluntary payment.” See
10   http://www.convergentusa.com/ERS/ (last visited May 9, 2011).
11                                 II. JURISDICTION AND VENUE
12           3.      This matter in controversy exceeds $5 million, as each member of the proposed
13   Class of tens of thousands is entitled to up to $1,500 in statutory damages for each call that has
14   violated the TCPA. Accordingly, this Court has jurisdiction pursuant to 28 U.S.C.
15   § 1332(d)(2). Further, Plaintiffs alleges a national class, which will result in at least one Class
16   member belonging to a different state. Therefore, both elements of diversity jurisdiction under
17   the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
18           4.      Venue is proper in the United States District Court for the Western District of
19   Washington pursuant to 28 U.S.C. §§ 1391(a) and 1441(a), because Defendant is a corporation
20   that resides in this judicial district, and because Defendant’s contacts with this District are
21   sufficient to subject it to personal jurisdiction.
22                                             III. PARTIES
23           5.      Plaintiff Gilman is, and at all times mentioned herein was, an individual citizen
24   of the State of Colorado, who resides in Arapahoe County.
25           6.      Plaintiff Newman is, and at all times mentioned herein was, an individual citizen
26   of the state of California, who resides in Orange County.
27
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 1           7.        On information and belief, Plaintiffs allege that ERS is, and at all times
 2   mentioned herein was, a corporation whose primary corporate address and headquarters are in
 3   Renton, Washington, and that ERS does business throughout the country, including this
 4   District.
 5               IV.   THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
 6                                 (TCPA), 47 U.S.C. § 227
             8.        In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C.
 7
     § 227 (TCPA), in response to a growing number of consumer complaints regarding certain
 8
     telemarketing practices.
 9
             9.        The TCPA regulates, among other things, the use of automated telephone
10
     equipment, or “autodialers.” Specifically, the plain language of Section 227(b)(1)(A)(iii)
11
     prohibits the use of autodialers to make any call to a wireless number in the absence of an
12
     emergency or the prior express consent of the called party.
13
             10.       According to findings by the Federal Communication Commission (“FCC”), the
14
     agency Congress vested with authority to issue regulations implementing the TCPA, such calls
15
     are prohibited because, as Congress found, automated or prerecorded telephone calls are a
16
     greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly
17
     and inconvenient. The FCC also recognized that many wireless customers are charged for
18
     incoming calls whether they pay in advance or after the minutes are used.
19
             11.       On January 4, 2008, the FCC released a Declaratory Ruling wherein it
20
     confirmed that autodialed and prerecorded message calls to a wireless number by a creditor (or
21
     on behalf of a creditor) are permitted only if the calls are made with the “prior express consent”
22
     of the called party. The FCC “emphasize[d] that prior express consent is deemed to be granted
23
     only if the wireless number was provided by the consumer to the creditor, and that such number
24
     was provided during the transaction that resulted in the debt owed.”
25

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 1                                     V. FACTUAL ALLEGATIONS
 2
     Plaintiff Gilman’s Allegations
 3           12.     At all times relevant, Plaintiff Gilman was an individual residing in the State of
 4   Colorado. Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47
 5   U.S.C. § 153(10).
 6           13.     Plaintiff Gilman has a “pay by the minute” cellular telephone. In May 2009,
 7   ERS contacted Plaintiff Gilman’s cellular telephone via an automated calling system. Since
 8   that date, Plaintiff Gilman has received at a minimum one call per month and at most three calls
 9   per week from ERS to his cellular telephone.
10           14.     ERS has repeatedly called Plaintiff Gilman’s cellular telephone, using an
11   automated calling system, in an attempt to collect a debt that is not even owed by him.
12           15.     Earlier this year, Plaintiff Gilman was able to speak with an ERS representative
13   regarding the calls being placed to his cellular telephone. During this conversation, Plaintiff
14   Gilman informed ERS that the debt it sought to collect was not his and he requested that the
15   company stop calling his cellular telephone number. He assumed that this would be the last he
16   heard from ERS but despite Plaintiff Gilman’s specific request, he received a call on his
17   cellular telephone from ERS approximately one week later. Moreover, the calls have continued
18   as before, up to three times per week.
19           16.     The number from which Plaintiff Gilman receives calls is 1-800-477-5451.
20           17.     At no time did Plaintiff Gilman ever provide his cellular telephone number to
21   ERS or to its related entities.
22           18.     Notwithstanding the fact Plaintiff Gilman did not provide ERS with his cellular
23   number, and notwithstanding the fact that Plaintiff Gilman specifically requested to ERS that it
24   stop calling him, ERS repeatedly contacted, and continues to contact, Plaintiff Gilman on
25   Plaintiff Gilman’s cellular telephone, up to three times per week. Because most of these calls
26   are prerecorded, it was extremely difficult for Plaintiff Gilman to immediately request that the
27
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 1   calls end or to voice his complaints to a real person while on the line. On the one instance that
 2   Plaintiff Gilman was able to wait on the line, eventually speaking with an ERS representative,
 3   he specifically requested that ERS stop calling him, and even that did not work.
 4
     Plaintiff Newman’s Allegations
 5          19.     Plaintiff Newman is, and at all times mentioned herein was, a “person” as
 6   defined by 47 U.S.C. § 153 (10).
 7          20.     Sometime during or after 2001 and before March 9, 2011, Plaintiff Newman’s
 8   brother, Clinton Bronson Newman, Jr. allegedly had a car loan from AmeriCredit Financial
 9   Services, Inc. (“AFS”) or a related entity. That loan was subsequently transferred to and/or
10   purchased by ERS.
11          21.     Sometime during or after 2001, Clinton Bronson Newman, Jr. allegedly
12   defaulted on the loan.
13          22.     On or about March 9, 2011, ERS contacted Plaintiff Newman on Plaintiff
14   Newman’s cellular telephone via an automatic telephone dialing system and using an artificial
15   or prerecorded voice.
16          23.     Plaintiff Newman has never provided her current cellular telephone to
17   Defendant ERS or its related entities, nor has she ever verbally provided ERS or its related
18   entities with her cellular phone number or with permission to contact her at that number.
19
     Plaintiffs’ Joint Allegations
20
            24.     ERS is, and at all times mentioned herein was, a corporation and a “person”, as
21
     defined by 47 U.S.C. § 153(10).
22
            25.     All telephone contact by ERS to Plaintiffs on their cellular telephones occurred
23
     via an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1) and all calls
24
     that are the subject of this Complaint occurred within four years of the filing of this Complaint.
25

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 1          26.     The telephone calls placed by ERS to Plaintiffs’ cellular telephones via the
 2   automatic telephone dialing system used “an artificial or prerecorded voice” as described in
 3   47 U.S.C. § 227(b)(1)(A).
 4          27.     Each telephone number that ERS used to contact Plaintiffs, with a “prerecorded
 5   voice” made by an “automatic telephone dialing system,” was assigned to a cellular telephone
 6   service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).
 7          28.     The complained of telephone calls constituted calls not for emergency purposes
 8   as defined by 47 U.S.C. § 227(b)(1)(A)(i).
 9          29.     Plaintiffs did not provide express consent to receive prerecorded calls on their
10   cellular telephones.
11          30.     Plaintiffs did not provide “express consent” allowing ERS to place telephone
12   calls to Plaintiffs’ cellular telephones utilizing an “artificial or prerecorded voice” or placed by
13   an “automatic telephone dialing system,” within the meaning of 47 U.S.C. § 227(b)(1)(A).
14          31.     ERS did not make telephone calls to Plaintiffs’ cellular telephone “for
15   emergency purposes” utilizing an “artificial or prerecorded voice” or placed by an “automatic
16   telephone dialing system,” as described in 47 U.S.C. § 227(b)(1)(A).
17          32.     ERS’s telephone calls to Plaintiffs’ cellular telephone utilizing an “artificial or
18   prerecorded voice” or placed by an “automatic telephone dialing system” for non-emergency
19   purposes and in the absence of Plaintiffs’ prior express consent violated 47 U.S.C.
20   § 227(b)(1)(A).
21          33.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling,
22   the burden is on ERS to demonstrate that Plaintiffs provided express consent within the
23   meaning of the statute.
24                              VI. CLASS ACTION ALLEGATIONS
25          34.     Plaintiffs bring this action individually and on behalf of all other persons
26   similarly situated (hereinafter referred to as “the Class”).
27
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 1          35.     Plaintiffs propose the following Class definition, subject to amendment as
 2   appropriate:
 3                  All persons within the United States who received a non-
                    emergency telephone call from ER Solutions, Inc. to a cellular
 4                  telephone through the use of an automatic telephone dialing
                    system or an artificial or prerecorded voice and who did not
 5                  provide prior express consent for such calls during the transaction
                    that resulted in the debt owed.
 6
     Collectively, all these persons will be referred to as “Plaintiffs” or “Class members.” Plaintiffs
 7
     represent, and are members of, the Class. Excluded from the Class are ERS and any entities in
 8
     which ERS has a controlling interest, ERS’s agents and employees, the Judge to whom this
 9
     action is assigned and any member of the Judge’s staff and immediate family, and claims for
10
     personal injury, wrongful death and/or emotional distress.
11
            36.     Plaintiffs do not know the exact number of members in the Class, but based
12
     upon the representations of ERS as to its market share, Plaintiffs reasonably believe that Class
13
     members number at minimum in the tens of thousands.
14
            37.     Plaintiffs and all members of the Class have been harmed by the acts of ERS.
15
            38.     This Class Action Complaint seeks money damages and injunctive relief.
16
            39.     The joinder of all Class members is impracticable due to the size and relatively
17
     modest value of each individual claim. The disposition of the claims in a class action will
18
     provide substantial benefit to the parties and the Court in avoiding a multiplicity of identical
19
     suits. The Class can be identified easily through records maintained by ERS.
20
            40.     There are well defined, nearly identical, questions of law and fact affecting all
21
     parties. The questions of law and fact involving the class claims predominate over questions
22
     which may affect individual Class members. Those common questions of law and fact include,
23
     but are not limited to, the following:
24
                    a.      Whether ERS made non-emergency calls to Plaintiffs and Class
25
     members’ cellular telephones using an automatic telephone dialing system or an artificial or
26
     prerecorded voice;
27
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 1                   b.     Whether ERS can meet its burden of showing that it obtained prior
 2   express consent (i.e., consent that is clearly and unmistakably stated), during the transaction
 3   that resulted in the debt owed, to make such calls;
 4                   c.     Whether ERS’s conduct was knowing and/or willful;
 5                   d.     Whether ERS is liable for damages, and the amount of such damages;
 6   and
 7                   e.     Whether ERS should be enjoined from engaging in such conduct in the
 8   future.
 9             41.   As persons who received numerous and repeated telephone calls using an
10   automatic telephone dialing system or an artificial or prerecorded voice, without their prior
11   express consent within the meaning of the TCPA, Plaintiffs assert claims that are typical of
12   each Class member. Plaintiffs will fairly and adequately represent and protect the interests of
13   the Class, and they have no interests which are antagonistic to any member of the Class.
14             42.   Plaintiffs have retained counsel experienced in handling class action claims
15   involving violations of federal and state consumer protection statutes, including the TCPA.
16             43.   A class action is the superior method for the fair and efficient adjudication of
17   this controversy. Classwide relief is essential to compel ERS to comply with the TCPA. The
18   interest of Class members in individually controlling the prosecution of separate claims against
19   ERS is small because the statutory damages in an individual action for violation of the TCPA
20   are small. Management of these claims is likely to present significantly fewer difficulties than
21   are presented in many class claims because the calls at issue are all automated and the Class
22   members, by definition, did not provide the prior express consent required under the statute to
23   authorize calls to their cellular telephones.
24             44.   ERS has acted on grounds generally applicable to the Class, thereby making
25   final injunctive relief and corresponding declaratory relief with respect to the Class as a whole
26   appropriate. Moreover, on information and belief, Plaintiffs allege that the TCPA violations
27
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 1   complained of herein are substantially likely to continue in the future if an injunction is not
 2   entered.
 3                           VII. CAUSES OF ACTION –FIRST COUNT
 4      NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION
 5                         ACT 47 U.S.C. § 227 et seq.
              45.     Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as
 6
     if fully set forth herein.
 7
              46.     The foregoing acts and omissions of ERS constitute numerous and multiple
 8
     negligent violations of the TCPA, including but not limited to each of the above cited
 9
     provisions of 47 U.S.C. § 227 et seq.
10
              47.     As a result of ERS’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiffs
11
     and Class members are entitled to an award of $500.00 in statutory damages for each and every
12
     call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).
13
              48.     Plaintiffs and Class members are also entitled to and do seek injunctive relief
14
     prohibiting ERS’s violation of the TCPA in the future.
15
              49.     Plaintiffs and Class members are also entitled to an award of attorneys’ fees and
16
     costs.
17
                          VIII. CAUSES OF ACTION – SECOND COUNT
18

19    KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
                    PROTECTION ACT, 47 U.S.C. § 227 et seq.
20
              50.     Plaintiffs incorporate by reference paragraphs 1-38 of this Complaint as if fully
21
     stated herein.
22
              51.     The foregoing acts and omissions of ERS constitute numerous and multiple
23
     knowing and/or willful violations of the TCPA, including but not limited to each of the above-
24
     cited provisions of 47 U.S.C. § 227 et seq.
25

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 1            52.    As a result of ERS’s knowing and/or willful violations of 47 U.S.C. § 227 et
 2   seq., Plaintiffs and each member of the Class are entitled to treble damages of up to $1,500.00
 3   for each and every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
 4            53.    Plaintiffs and all Class members are also entitled to and do seek injunctive relief
 5   prohibiting such conduct violating the TCPA by ERS in the future.
 6            54.    Plaintiffs and Class members are also entitled to an award of attorneys’ fees and
 7   costs.
 8                                     IX. PRAYER FOR RELIEF
 9            WHEREFORE, Plaintiffs respectfully requests that the Court grant Plaintiffs and all
10   Class members the following relief against Defendant:
11            A.     As a result of ERS’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiffs
12   seek for themselves and each Class member $500.00 in statutory damages for each and every
13   call that violated the TCPA;
14            B.     As a result of ERS’s willful and/or knowing violations of 47 U.S.C. § 227(b)(1),
15   Plaintiffs seek for themselves and each Class member treble damages, as provided by statute, of
16   up to $1,500.00 for each and every call that violated the TCPA;
17            C.     Injunctive relief prohibiting such violations of the TCPA by ERS in the future;
18            D.     An award of attorneys’ fees and costs to counsel for Plaintiffs and the Class;
19            E.     An order certifying this action to be a proper class action pursuant to Federal
20   Rule of Civil Procedure 23, establishing an appropriate Class and any Subclasses the Court
21   deems appropriate, finding that Plaintiffs are proper representatives of the Class, and
22   appointing the lawyers and law firms representing Plaintiffs as counsel for the Class; and
23            F.     Such other relief as the Court deems just and proper.
24                                  X. DEMAND FOR JURY TRIAL
25            Plaintiffs demand a trial by jury on all counts so triable.
26
27
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 1         DATED this 10th day of June, 2011.
 2                                         TERRELL MARSHALL DAUDT & WILLIE PLLC
 3
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                                      CERTIFICATE OF SERVICE
 1

 2          I, Beth E. Terrell, hereby certify that on June 10, 2011, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
 5

 6
                    Attorneys for Defendant
 7
            DATED this 10th day of June, 2011.
 8
                                               TERRELL MARSHALL DAUDT & WILLIE PLLC
 9
                                               By: /s/ Beth E. Terrell, WSBA #26759
10                                                Beth E. Terrell, WSBA #26759
                                                  Email: bterrell@tmdwlaw.com
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14                                             Attorneys for Plaintiff

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     AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
     AND INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. § 227 et                TERRELL MARSHALL DAUDT & WILLIE PLLC
                                                                                 936 North 34th Street, Suite 400
     seq. (TELEPHONE CONSUMER PROTECTION ACT) - 12                              Seattle, Washington 98103-8869
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